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                 In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                          Filed: May 18, 2021

* * * * * * * *                     *    *   *   *    *
SUSAN B. ACON,                                        *
as executrix of the estate of                         *        UNPUBLISHED
AGNES BIAGINI,                                        *
                                                      *        No. 19-64V
                           Petitioner,                *
v.                                                    *        Special Master Gowen
                                                      *
SECRETARY OF HEALTH                                   *        Stipulation; Influenza (Flu);
AND HUMAN SERVICES,                                   *        Guillain-Barré syndrome (GBS);
                                                      *        Death.
                           Respondent.                *
*    * *     *    *   *    * * * *           *   *    *

Rudolph L. Massa, Massa Law Group, PC, Pittsburgh, PA, for petitioner.
James V. Lopez, United States Department of Justice, Washington, DC, for respondent.

                                     DECISION ON STIPULATION1

       On January 15, 2019, Susan B. Acon (“petitioner”) as executrix of the estate of Agnes
Biagini, filed a petition for compensation in the National Vaccine Injury Compensation
Program.2 Petition (ECF No. 1). The petition seeks compensation for injuries and death
allegedly related to Ms. Biagini’s receipt of an influenza (“flu”) vaccine, which vaccine is
contained in the Vaccine Injury Table (the “Table”), on December 7, 2016.

       Petitioner alleges that as a result of receiving the flu vaccine, Ms. Biagini suffered
Guillain-Barré syndrome (“GBS”) and that her death on January 15, 2017, was a sequela of the
alleged vaccine-related injury.


1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I intend to post it on the website of the United States Court of
Federal Claims. The Court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the opinion
is posted on the Court’s website, each party has 14 days to file a motion requesting redaction “of any information
furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). An objecting party must provide the Court with a proposed
redacted version of the opinion. Id. If neither party files a motion for redaction within 14 days, the opinion will
be posted on the Court’s website without any changes. Id.

2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended 42 U.S.C. §§ 300aa-10 to 34 (2012)
(hereinafter “Vaccine Act” or “the Act”). Hereinafter, individual section references will be to 42 U.S.C. § 300aa of
the Act.
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        On May 18, 2021, respondent filed a stipulation which provides that a decision should be
entered awarding compensation to petitioner on behalf of Ms. Biagini’s estate. Stipulation (ECF
No. 45). Respondent denies that Ms. Biagini sustained a Table GBS injury and further denies
that the flu vaccine caused Ms. Biagini’s alleged GBS, any other injury, or her death. Id. at ¶ 6.

        Maintaining their above-stated positions, the parties nevertheless now agree that the
issues between them shall be settled and that a decision should be entered awarding the
compensation described in paragraph 8 of the stipulation, which is attached hereto as Appendix
A. Id. at ¶ 7.

        The stipulation awards a lump sum of $240,000.00 in the form of a check payable to
petitioner as legal representative of the estate of Agnes Biagini. This lump sum represents
compensation for all damages that would be available under 42 U.S.C. § 300aa-15(a).

       I adopt the stipulation as the decision of the Court and hereby award compensation in the
amount and on the terms set forth therein. Accordingly, the Clerk of Court SHALL ENTER
JUDGMENT in accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.
                                                                       s/Thomas L. Gowen
                                                                       Thomas L. Gowen
                                                                       Special Master




3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).

                                                         2
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